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  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD.,
                                                                       Civil Action No.: 21-60125-CIV-
                                                                       SCOLA/SNOW
                               Plaintiffs,

             -against-

  CIRCUITRONIX LLC,

                                Defendant.
  -----------------------------------------------------------------x




                       Plaintiff Benlida’s Memorandum of Law in Opposition to
                        Defendant CTX’s Motion to Compel and in Support of
                            Benlida’s Cross-Motion for a Protective Order




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  Of Counsel: Richard E. Lerner




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                                               Preliminary Statement
           This memorandum is respectfully submitted on behalf of plaintiff Jiangmen Benlida

  Printed Circuit Co., Ltd. in opposition to defendant Circuitronix LLC’s motion to compel

  plaintiff’s witnesses to appear for depositions in the Southern District of Florida, and in support

  of Benlida’s cross-motion for a protective order allowing its witnesses to be deposed via video

  conference. Defendant’s motion should be denied, and plaintiff Benlida’s cross-motion granted,

  for the following reasons. 1

           First, defendant CTX mischaracterizes Benlida’s response to CTX’s demand for seven or

  more 2 of Benlida’s employees to travel to Miami for depositions. Counsel for Benlida made it

  clear that there were outstanding discovery issues that needed to be resolved before depositions.

  Prior to the meet and confer on April 12, 2022, CTX had produced only 777 pages of documents

  which consisted of invoices and spreadsheets that Benlida had already produced to CTX. During

  this meeting, counsel for Benlida wanted to first address CTX’s duplicative and anemic

  discovery before addressing the deposition schedule. After the April 12 meeting, CTX produced

  an additional seven volumes of documents totaling 15,195 pages. The additional 14,418 pages

  have been produced slowly over the past two weeks with the most recent volume having been

  produced on April 30.




  1
    In this memorandum of law, plaintiff employs the same abbreviations as in the defendant’s motion. Thus,
  “Benlida” refers to Jiangmen Benlida Printed Circuit Co., Ltd.; “ROK refers to ROK Printed Circuit Co., Ltd.;
  “CTX” refers to Circuitronix, LLC; “CTX-HK” refers to Circuitronix Hong Kong Ltd.; and “TAC” refers to the
  third amended complaint.
  2
   CTX has noticed the depositions of seven Benlida employees and officers, and has also served a notice for a
  corporate representative or representatives to testify as to 23 separate topics of inquiry, pursuant to Rule 30(b)(6).
  Thus, the number of depositions is expected to exceed seven.

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          Second, it is unduly burdensome for Benlida’s witnesses to currently travel from China

  due to the strict travel and quarantine rules currently in place due to the Covid-19 pandemic. 3

  Benlida is willing to produce its witnesses in-person in Miami, Florida once the current

  restrictions in China no longer cause undue hardship for Benlida to lose seven or more essential

  employees for a month of quarantine procedures. Benlida is amenable to either proceeding

  remotely or appear in person in Florida once the restriction no longer causes undue hardship for

  Benlida.

          Currently, China is taking a “zero-Covid” approach and has restricted travel and enforced

  lockdowns in multiple cities. Benlida is based in the city of Shenzhen, which has instituted

  severe travel restrictions. Currently, individual building and housing complexes with Covid cases

  are being sealed off, gyms and theaters are closed, visitors to many office buildings must show

  proof of a negative Covid-19 test within the previous 48 hours, and individuals even attempting

  to enter a park are required to hold a negative 72-hour nucleic acid test result and a green travel

  record. According to a recent notice, travel agencies and online travel service providers must

  suspend operating domestic group travel and international group travel. Specifically, upon their

  return from overseas, travelers are required to undergo a fourteen-day centralized quarantine

  (i.e., in a Covid hotel) and seven days of strict home health monitoring.

          Therefore, if forced to appear in person in Florida, Benlida’s witnesses will be subjected

  to four or five days of travel (including time to adjust to jet lag after arriving in Florida), and then

  an additional three weeks of quarantine upon returning to Shenzhen. While CTX has



  3
   By email dated April 29, 2022, counsel for CTX agreed that the current Covid regime in China was a matter of
  public knowledge, and that therefore CTX would not challenge such facts, and there would be no need for our
  clients to submit affidavits discussing the current Covid restrictions, including quarantine protocols. CTX’s
  counsel’s professional courtesy is acknowledged and appreciated.

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  acknowledged these Covid-related logistical problems, their position is that, in sum, since

  Benlida filed suit in Florida, the parties must abide by the general rule that depositions must be

  conducted in the forum where the case was instituted. Respectfully, CTX’s position ignores that

  courts throughout the country have made accommodations due to Covid, and that the “general

  rule” simply cannot apply under these special circumstances.

                                               Argument
  Point I:       The Court has Broad Discretion in Discovery Matters, and
                 May Direct that a Plaintiff’s Deposition be Conducted
                 Remotely.
         The court has wide discretion in discovery matters. See Habert Intern. v. James, 157 F.3d

  1271, 1280 (11th Cir. 1998); see also Fed. R. Civ. P. 30(b)(4) (noting that the court “may” order

  a deposition to be taken by remote means). The general rule is that plaintiffs “are required to

  make themselves available for examination in the district in which they bring suit… [a]t the

  same time,… there is a presumption that a defendant will be deposed in the district of its

  residence or principal place of business.”

         The party seeking the protective order, in this case Benlida, must show good cause by

  demonstrating a particular need for protection. That is, Rule 26(c) “authorizes the Court to order

  that a plaintiff’s deposition be taken in a different location, or by alternative means, if he

  demonstrates the requisite good cause.” Dude v. Cong. Plaza, LLC, No. 17-80522-CIV-

  Marra/Matthewman, 2018 U.S. Dist. LEXIS 31924 (S.D. Fla. Feb. 20, 2018) (emphasis added)

  (quoting Larry E. Hogue v. John H McHugh, Sec’y, Dep’t of the Army, No. 11-22405-CIV, 2012

  WL 13064092, at *2 (S.D. Fla. Dec. 3, 2012) (citing Fed. R. Civ. P. 26(c)(1)).

         Thus, it is manifest that this court has the discretion to decide the location of the

  plaintiff’s depositions. See DeepGulf, Inc. v. Moszkowski, 330 F.R.D. 600, 609 (N.D. Fla. 2019)


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  (collecting cases); see also Asea, Inc. v. S. Pac. Transp. Co., 669 F.2d 1242, 1248 (9th Cir. 1981)

  (holding that a “district judge has discretion to direct the place of a deposition” and it is “not an

  abuse of discretion for the district judge to protect” a “witness from the burden of traveling

  overseas for examination”); Armsey v. Medshares Mgmt. Servs., Inc., 184 F.R.D. 569, 571 (W.D.

  Va. 1998) (noting that a district court enjoys “broad discretion to determine the appropriate

  location for a deposition and may attach conditions, such as the payment of expenses, as it finds

  appropriate”); Farquhar v. Shelden, 116 F.R.D. 70, 72 (E.D. Mich. 1987) (“It is within the

  discretion of the court to designate the location for a taking of depositions, and each application

  must be considered on its own facts and equities.”); Financial Gen. Bankshares, Inc. v. Lance,

  80 F.R.D. 22, 23 (D.D.C. 1978) (“The matter of the location of depositions of defendants

  ultimately is within the discretion of the Court . . . .”)

          CTX argues that Benlida should have expected to be deposed in Florida since that is the

  district where the action is pending – as required by the parties’ contract (DE 15-1, §13.4). While

  Benlida did file suit in Florida in January 2021, only one or two witnesses would have been

  necessary to prove Benlida’s rather simple claim for non-payment. It is only because CTX has

  asserted counterclaims in its answer of October 15, 2021 (DE 34) that it has become apparent

  that additional Benlida witnesses would be called by CTX. While Benlida expected to have had

  to produce one or two witnesses for deposition in Florida when it filed suit, it could not have

  anticipated that the pandemic would continue for so long, nor could it have anticipated that CTX

  would seek to depose seven or more of its key employees from various divisions, who would

  have to travel to Florida during the middle of the pandemic and lose almost a month from work

  and their families.




                                                      4
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             In sum, CTX seeks to have the general rule applied to aberrant facts, disregarding that the

  contract was executed well before the onset of the Covid-19 pandemic, and disregarding the

  hardship that Benlida would face if seven or more of its employees were forced to come to

  Florida for their noticed depositions. Thus, Benlida faces “undue burden and hardship” because:

             (a) Quarantining in a Covid hotel for two weeks and then at home for a week is, ipso
                 facto, a personal burden and hardship.
             (b) Having seven or more key employees unable to work for almost a month due to these
                 quarantine restrictions will severely impact Benlida’s business, and thus, ipso facto,
                 imposes a burden and hardship on the business itself.
             (c) CTX does not solely request one key witness who may work remotely during the
                 quarantine period, but seven or more essential employees who, even during the zero-
                 Covid restrictions, work in-person at Benlida’s headquarters.
             (d) Obtaining travel visas may prove difficult for several of the noticed witnesses who
                 have never traveled to the United States.
             As CTX’s counsel has stipulated as to the quarantine protocols and problems posed by

  the Covid protocols, 4 we have not presented affidavits of our clients to attest to these hardships. 5

  In any event, Benlida respectfully submits that it is self-evident that requiring to quarantine for at

  least three weeks upon their return to China, if they were required to appear for depositions in

  Florida is the quintessential “undue burden and hardship.”

             Video depositions can be adequate substitutes. There is no question that Covid-19 has

  completely altered the manner with which the courts handle cases, and attorneys have adapted by

  taking remote depositions during the course of the Covid-19 pandemic. In fact, over the past two



  4
      See footnote 3, supra.
  5
    During a meet-and-confer on Friday, April 29th, and follow-up emails exchanged, CTX’s counsel suggested that
  he might make a motion to move up the return date of its motion to compel so that an early decision could be
  rendered, and to require Benlida to submit its opposition papers earlier. We tentatively agreed to avoid such
  unnecessary motion practice by submitting our papers by May 3rd, and then advised counsel that, as it turned out,
  May 1st through May 4th is the Labor Day Holiday in China, and that we would not be able to get affidavits from
  our clients by May 3rd. CTX’s counsel agreed to forego the need for affidavits from our clients to attest to the
  burdens and hardships in exchange for our agreeing to submit our opposition papers by May 3rd. Hence, there
  should be no objection from CTX on reply as to the foregoing facts not being supported by affidavits.

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  years, this law firm has attended dozens of video depositions, and scant few in-person

  depositions.

  Point II:      None of Us Will Be Charged with a Crime in China for
                 Attending Remote Depositions of China-Based Witnesses.
         CTX claims that the only lawful way to take depositions in China for use in foreign

  courts is by use of the Hague Convention protocols. Counsel argues that employment of Hague

  protocols “is an illusory avenue to discovery and in fact a known dead-end.” (DE 66, p.5

  (emphasis added)). However, CTX has not made the effort to employ Hague Convention

  protocols to take the depositions of Benlida’s witnesses. But in any event, the point is utterly

  academic, as none of us attorneys in this matter could possibly be planning to travel to take the

  depositions of the witnesses in China because we’d have to quarantine in a Covid hotel for three

  weeks before we take the depositions. It is quite doubtful that a court reporter could even be

  found who would agree to sit in a hotel room for three weeks.

         Remote depositions in China, and elsewhere in the world, have become commonplace,

  and there are no reports in the media of requests by China for the extradition to China of the

  attorneys who have taken such depositions.

         While Benlida is not opposed to having its witnesses appearing in person in Florida for

  their depositions, it simply cannot happen now, in the middle of the pandemic. The undue burden

  and hardship that Benlida faces is that seven or more of Benlida’s key employees will be unable

  to work for almost a month.

         CTX cites Jacobs v. Floorco Enters., No. 3:17-CV-90-RGJ-CHL, 2020 U.S. Dist. LEXIS

  46921 (W.D. Ky. Mar. 18, 2020), where, due to the Covid-19 pandemic, a Chinese national was

  compelled to appear for a deposition in Kentucky. However, the court did not impose a hard

  deadline, instead putting off the deposition until it would no longer be a hardship to travel.


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  Benlida would be amendable to appear in Florida once its seven or more key employees can

  travel to Florida without severely impacting their own lives and Benlida’s operations.


                                             Conclusion
         For all the foregoing reasons, it is respectfully submitted that Circuitronix’s motion to

  compel should be denied, and Benlida’s cross-motion for a protective order should be granted.

  Dated: New York, New York
         May 3, 2022                                   MAZZOLA LINDSTROM, LLP

                                                       _________________________________
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  To:    All Attorneys of Record
         (By ECF)




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                                      Certificate of Service

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  Court using CM/ECF.



                                             ______________________________
                                             Jean-Claude Mazzola




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